40 F.3d 1246
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Gary TRUDELL, Plaintiff-Appellant,v.SNOHOMISH COUNTY;  John E. Oswald;  Steven Henley;  Russ B.Juckett, Defendants-Appellees.
    No. 94-35858.
    United States Court of Appeals, Ninth Circuit.
    Submitted Nov. 14, 1994.*Decided Nov. 21, 1994.
    
      Before:  WALLACE, Chief Judge, GOODWIN and NORRIS, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Gary Trudell, a Washington state prisoner convicted of murder, appeals pro se the district court's dismissal without prejudice of his 42 U.S.C. Sec. 1983 action for damages.  He contends that Snohomish County prosecutors, investigators, sheriffs and others lacked jurisdiction to arrest and convict him because he is a member of a federally-recognized Indian tribe.  We have jurisdiction under 28 U.S.C. Sec. 1291, and we affirm.  The district court properly dismissed Trudell's action without prejudice because a judgment in his favor "would necessarily imply the invalidity of his conviction" and his conviction has not been invalidated or otherwise called into question.   See Heck v. Humphrey, 114 S.Ct. 2364, 2372 (1994).
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    